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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                           UNITED STATES DISTRICT COURT                           October 06, 2023
                            SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                HOUSTON DIVISION


DAVID MCGREGOR, et al.,                      §
                                             §
        Plaintiffs,                          §
                                             §
VS.                                          §   CIVIL ACTION NO. 4:22-CV-01782
                                             §
FAY SERVICING, LLC, et al.,                  §
                                             §
        Defendants.                          §

         ORDER FOLLOWING TELEPHONE SCHEDULING CONFERENCE
                   HELD ON September 28, 2023 at 8:30 AM

       Appearances:         David McGregor (pro se)
                            Flomara McGregor (pro se)
                            Aditi Deal
                            (Court Reporter: G. Dye)


The following rulings were made:

       Pursuant to phone conference, the Court enters an order addressing the issues raised.

       It is so ORDERED.

       SIGNED on September 28, 2023, at Houston, Texas.


                                                  _________________________________
                                                  Kenneth M. Hoyt
                                                  United States District Judge




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